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                             UNITED STATES DISTRICT COURT
                               DISTRICT OF CONNECTICUT

                                                     :
JAKUB MADEJ                                          :
                                                     :       CIVIL ACTION NO.
                       PLAINTIFF                     :       3:20-cv-00133-JCH
                                                     :
v.                                                   :
                                                     :
YALE UNIVERSITY, MARVIN CHUN,                        :
MARK SCHENKER, PETER SALOVEY AND                     :
JESSIE ROYCE HILL                                    :
                                                     :
                       DEFENDANTS                    :
                                                     :       AUGUST 11, 2020

MOTION TO QUASH SUBPOENA AND NOTICE OF VIDEOTAPED DEPOSITION

       Pursuant to Rule 45(d), the defendant, Yale University, hereby moves to quash the

subpoena and notice of the videotaped deposition of its agent, Keshav Raghavan. This motion

should be granted for four separate reasons: (1) the plaintiff failed to comply with Rule 45 of the

Federal Rules of Civil Procedure; (2) the subpoena is in direct contravention of Judge Hall’s order;

(3) the subpoena and notice of deposition subject Mr. Raghavan to an undue burden; and (4) the

production requests are duplicative of the requests for production previously sent to Yale

University and Mark Schenker. The accompanying memorandum of law supports this motion.
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                                                THE DEFENDANT,

                                                YALE UNIVERSITY


                                          By:                 /s/
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                                                COLLEEN NOONAN DAVIS – CT27773
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                                       CERTIFICATION

        I hereby certify that, on the above-written date, a copy of the foregoing was filed
electronically and served by mail on anyone unable to accept electronic filing. Notice of this filing
will be sent by e-mail to all parties by operation of the court’s electronic filing system or by mail
to anyone unable to accept electronic filing as indicated on the Notice of Electronic Filing. Parties
may access this filing through the court’s CM/ECF System.


                                                      _______________/s/________________
                                                             Patrick M. Noonan




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